
625 S.E.2d 110 (2005)
LOREDO
v.
CSX TRANSPORTATION
v.
Torres.
No. 297A05.
Supreme Court of North Carolina.
November 7, 2005.
Charles D. Mast, George B. Mast, David F. Mills, Bradley N. Schultz, Smithfield, for Loredo, Wood &amp; Berkau.
W.L. Allen, III, Greenville, Robert E. Ruegger, Raleigh, for Amelia Torres.
Frank J. Gordon, Raleigh, for CSX Transportation, Inc.
Patrick Flanagan, Charlotte, for Family Home &amp; Garden.
The following order has been entered on the motion filed on the 7th day of November 2005 by Academy of Trial Lawyers for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 7th day of November 2005."
